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December 1, 2020
VIA ECF

Hon. Debra C. Freeman
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007


       Re:     Priscilla Doe v. Darren Indyke and Richard D. Kahn as joint personal
               representatives of the Estate of Jeffrey E. Epstein, et al.,
               No. 1:19-cv-07772-ALC-DF

Dear Judge Freeman:

      Pursuant to the Court’s September 4, 2020 Order (ECF No. 70), Plaintiff and
Defendants Darren K. Indyke and Richard D. Kahn, Co-Executors of the Estate of Jeffrey
E. Epstein, jointly submit this status report.

       Plaintiff has submitted her claim to the Epstein Victims’ Compensation Program
(the “Program”); it is currently under review. Should Plaintiff resolve her claims against
Defendants via the Program, the parties will thereafter promptly discontinue this action
with prejudice.

       To preserve the parties’ resources and in the interests of judicial economy, the
parties respectfully request that this case remain stayed at this time.

Respectfully submitted,


/s/ Bennet J. Moskowitz
Bennet J. Moskowitz


cc: Counsel of Record (via ECF)
